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                                                                          8                              IN THE UNITED STATES DISTRICT COURT
                                                                          9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11   UNITED STATES OF AMERICA,                           No. CR 05-0395 MMC
United States District Court




                                                                         12                 Plaintiff,                            ORDER SETTING ASIDE WARRANT OF
                               For the Northern District of California




                                                                                                                                  ARREST
                                                                         13     v.
                                                                         14   YOUNG JOON YANG, et al.,
                                                                         15                 Defendants.
                                                                                                                        /
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                                                                         17          The Court having received from Tak S. Chang, counsel for defendant Keun Sung
                                                                         18   Lee, a letter explaining counsel’s, as well as his client’s, absence from the July 13, 2005
                                                                         19   initial status conference in the above-titled case, the Court accepts counsel’s explanation
                                                                         20   and, at counsel’s request and
                                                                         21          For Good Cause Shown, hereby SETS ASIDE its order of July 13, 2005, issuing
                                                                         22   a warrant for the arrest of defendant Keun Sung Lee.
                                                                         23          IT IS SO ORDERED.
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                                                                         25   Dated: July 15, 2005                                  /s/ Maxine M. Chesney
                                                                                                                                    MAXINE M. CHESNEY
                                                                         26                                                         United States District Judge
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